            Case 1:18-cv-00555-BLW Document 1 Filed 12/14/18 Page 1 of 23



Nicole Hancock, ISB No. 6899
STOEL RIVES LLP
101 S. Capitol Boulevard, Suite 1900
Boise, ID 83702
Telephone: 208.389.9000
Facsimile: 208.389.9040
nicole.hancock@stoel.com

Hannah Brass Greer, ISB No. 8232
PLANNED PARENTHOOD OF THE GREAT
NORTHWEST AND THE HAWAIIAN ISLANDS
2001 East Madison Street
Seattle, WA 98122
Telephone: 206.427.3208
Hannah.BrassGreer@ppgnhi.org

Alice Clapman, Pro Hac Vice application pending
PLANNED PARENTHOOD FEDERATION OF
AMERICA
1110 Vermont Avenue NW
Washington, DC 20005
Telephone: 202.973.4862
alice.clapman@ppfa.org

Kim C. Clark, Pro Hac Vice application pending
LEGAL VOICE
907 Pine Street, Suite 500
Seattle, WA 98101
Telephone: 206.682.9552
Facsimile: 206.682.9556
kclark@legalvoice.org

Vanessa Soriano Power, Pro Hac Vice application
pending
vanessa.power@stoel.com
Jill D. Bowman, Pro Hac Vice application pending
jill.bowman@stoel.com
S. Julia Collier, Pro Hac Vice application pending
julia.collier@stoel.com
STOEL RIVES LLP
600 University Street, Suite 3600
Seattle, WA 98101
Telephone: 206.624.0900
Facsimile: 206.386.7500
Attorneys for Plaintiffs




COMPLAINT - 1
99490287.2 0099880-01204
              Case 1:18-cv-00555-BLW Document 1 Filed 12/14/18 Page 2 of 23




        IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

PLANNED PARENTHOOD OF THE
GREAT NORTHWEST AND THE
HAWAIIAN ISLANDS, a Washington                      Case No.
corporation; MARY STARK, on behalf of
herself and her patients,

                       Plaintiffs,                  COMPLAINT

         v.

LAWRENCE G. WASDEN, in his official
capacity as Attorney General of Idaho;
JAN M. BENNETTS, in her official
capacity as Ada County Prosecuting
Attorney; GRANT P. LOEBS, in his
official capacity as Twin Falls County
Prosecuting Attorney; THE INDIVIDUAL
MEMBERS OF THE STATE BOARD OF
MEDICINE, in their official capacity; THE
INDIVIDUAL MEMBERS OF THE
STATE BOARD OF NURSING, in their
official capacity,

                       Defendants.

         Plaintiffs, by and through their undersigned attorneys, bring this complaint against the

above-named Defendants, their employees, agents, and successors in office, and in support

thereof allege the following:

                                     PRELIMINARY STATEMENT

         1.        Idaho law gives broad authority to certain “advanced practice clinicians”

(“APCs”) to perform many of the same tasks as licensed physicians, including evaluating and

diagnosing patients, ordering and interpreting diagnostic tests, and initiating and managing

treatments, including prescribing medication. 1 These APCs include physician assistants and

advanced practice registered nurses (“APRNs”). The latter is a category of professional

caregivers that includes certified nurse practitioners and certified nurse midwives.

1
 Idaho Code §§ 54-1402, 54-1807A; Idaho Admin. Code r. 22.01.03.010, 22.01.03.028, 22.01.03.030,
22.01.03.042, 23.01.01.271, 23.01.01.280, 23.01.01.315; see American Association of Nurse
Practitioners, State Practice Environment, https://www.aanp.org/legislation-regulation/state-
legislation/state-practice-environment (last visited Nov. 15, 2018).


COMPLAINT - 2
99490287.2 0099880-01204
              Case 1:18-cv-00555-BLW Document 1 Filed 12/14/18 Page 3 of 23




         2.        APCs are registered health care providers with advanced education and training.

In Idaho, they are authorized to perform a variety of medical procedures that reflect this

advanced training, ranging from delivering babies and inserting intrauterine contraceptive

devices (IUDs), to performing endometrial biopsies (the removal of tissue from the uterine

lining). 2 The complexity of these health care services (among many others provided by APCs) is

equal to or greater than that of medication and aspiration abortion, and childbirth poses far

greater risks than abortion. Indeed, APCs can and do care for women experiencing miscarriages

using both techniques that are identical to aspiration abortion and medications similar to or the

same as medication abortion. 3
         3.        Idaho law does not permit APCs to provide abortion services notwithstanding that

the State authorizes APCs to provide comparable – and in the case of miscarriage management,

identical – health care services. Under Idaho Code § 18-608A (the “Physician-Only Law”), only

physicians are authorized to cause or perform abortions. This restriction is both out of step with

the State’s treatment of comparable health care services and medically unjustified. Peer-reviewed

medical literature uniformly demonstrates that APCs can safely and effectively provide

medication and aspiration abortion care, and medical authorities ranging from the American

College of Obstetricians and Gynecologists, to the American Public Health Association, to the

World Health Organization, and the National Academies of Sciences, Engineering, and Medicine




2
  The Idaho Board of Nursing does not define specific procedures that an APRN may or may not provide.
The Board states that an APRN’s scope of practice is defined by their “education, preparation, experience
and the parameters set forth by the advanced practice registered nurse’s recognized, national certifying
organization.” Idaho Admin. Code r. 23.01.01.271.17. The Idaho Board of Medicine also does not define
specific procedures that a physician assistant may or may not provide. The Board states that a physician
assistant’s scope of practice includes “a broad range of diagnostic, therapeutic and health promotion and
disease prevention services.” Idaho Admin. Code r. 22.01.03.028.01; State Practice Environment, supra
note 1; American Academy of Physician Assistants, PAs in Obstetrics and Gynecology (May 2017),
https://www.aapa.org/download/19515/.
3
  Diana Taylor et al., Providing Abortion Care: A Professional Toolkit for Nurse-Midwives, Nurse
Practitioners, and Physician Assistants 16-18 (2009), http://apctoolkit.org/wp-
content/themes/apctoolkit/PDFs/APCToolkit_COMPLETEBOOK.pdf (“APC Toolkit”); Idaho Admin.
Code r. 22.01.03.010, 22.01.03.028, 22.01.03.030.


COMPLAINT - 3
99490287.2 0099880-01204
               Case 1:18-cv-00555-BLW Document 1 Filed 12/14/18 Page 4 of 23




have all concluded that laws prohibiting APCs from providing this kind of abortion care are

medically unfounded. 4

          4.       Moreover, because of limited physician availability in the State, the Physician-

Only Law significantly constrains when and where abortion services are available in Idaho. As a

result, many women seeking abortions face significant and expensive travel burdens and delayed

access to care, preventing some from obtaining an abortion altogether. These onerous burdens

far outweigh the law’s nonexistent health justification.

          5.       To prevent this medically unjustified restriction from inflicting further harm,

Plaintiffs bring this civil rights action pursuant to 42 U.S.C. § 1983 on behalf of themselves and

their patients. Idaho’s Physician-Only Law imposes an undue burden on abortion access in

violation of Plaintiffs’ patients’ constitutional right to privacy and likewise violates the equal

protection rights of Plaintiffs as well as their patients. It should be declared unlawful and

unconstitutional as applied to APCs who seek to perform medication and aspiration abortions,

and its enforcement should be permanently enjoined.

          6.       As with every single other health care service, existing scope of practice laws in

Idaho are more than sufficient to ensure that APCs (like physicians) provide only care for which

they are educationally and clinically prepared and for which competency has been maintained.

The Physician-Only Law provides no medical benefit and serves only to harm Idaho women and

the APCs who are legally barred from caring for them.

                                    JURISDICTION AND VENUE

          7.       This Court has subject matter jurisdiction over Plaintiffs’ federal claims under 28

U.S.C. §§ 1331 and 1343(a)(3).

          8.       Plaintiffs’ action for declaratory and injunctive relief is authorized by 28 U.S.C.

§§ 2201 and 2202 and by Rules 57 and 65 of the Federal Rules of Civil Procedure.

          9.       Venue is proper pursuant to 28 U.S.C. § 1391(b)(1) because all Defendants, who

are sued in their official capacities, carry out their official duties at offices located in this district.
4
    See ¶¶ 51-57 below.


COMPLAINT - 4
99490287.2 0099880-01204
            Case 1:18-cv-00555-BLW Document 1 Filed 12/14/18 Page 5 of 23




                                              PARTIES
A.       Plaintiffs

         10.       Plaintiff Planned Parenthood of the Great Northwest and the Hawaiian Islands

(“Planned Parenthood”) is a not-for-profit corporation organized under the laws of the State of

Washington and doing business in Idaho. It is the largest provider of reproductive health

services in Idaho, operating three health centers in the state, in Ada County and Twin Falls

County. Planned Parenthood provides a broad range of reproductive and sexual health services

to women, men, and teens, including but not limited to, well person examinations, birth control,

testing and treatment for sexually transmitted infections, cancer screening, pregnancy testing,

and its physicians provide both medication and aspiration abortions. Planned Parenthood sues on

its own behalf and on behalf of its patients and its APCs. Planned Parenthood employs APRNs

and physician assistants who would provide abortions in Idaho if APCs were legally permitted to

provide that service to their patients.

         11.       Plaintiff Mary Stark has a Doctor of Nursing Practice and Masters of Nursing –

Family Nurse Practitioner. She is board certified by the American Nurses Credentialing Center

as a Family Nurse Practitioner, and is licensed to practice advanced nursing in Idaho,

Washington, and Oregon. She provides services to patients in Boise, Meridian, and Twin Falls,

Idaho, in Eugene, Oregon, and in various clinics throughout the state of Washington. The

services she provides include medication and aspiration abortions in Oregon, and medication

abortions in Washington. She would provide medication and aspiration abortion services to

patients in Idaho, if legally permitted to do so. She is bringing this action on her own behalf, and

on behalf of her patients.
B.       Defendants

         12.       Defendant Lawrence G. Wasden (“Wasden”) is the Attorney General for the State

of Idaho. Wasden has authority to prosecute any APRN or physician assistant who violates

Idaho’s Physician-Only Law. He is sued in his official capacity.




COMPLAINT - 5
99490287.2 0099880-01204
            Case 1:18-cv-00555-BLW Document 1 Filed 12/14/18 Page 6 of 23




         13.       Defendant Jan M. Bennetts (“Bennetts”) is the Ada County Prosecuting Attorney.

Planned Parenthood’s Boise and Meridian health centers are located in Ada County. Bennetts

has authority to pursue criminal charges or administrative penalties against any APRN or

physician assistant who violates the Physician-Only Law. She is sued in her official capacity.

         14.       Defendant Grant P. Loebs (“Loebs”) is the Twin Falls County Prosecuting

Attorney. Planned Parenthood’s Twin Falls health center is located in Twin Falls County.

Loebs has authority to pursue criminal charges or administrative penalties against any APRN or

physician assistant who violates the Physician-Only Law. He is sued in his official capacity.

         15.       The individual members of the Idaho State Board of Medicine (“Board of

Medicine”) are also sued in their official capacity. The Board of Medicine is a state agency

defined in the Idaho Administrative Procedures Act. Idaho Code § 67-5201(2). The Board of

Medicine governs the licensing of all physician assistants in the state. Pursuant to Idaho Code §§

54-1413 and 54-1814, the Board of Medicine has authority to investigate alleged violations of

the Physician-Only Law, and to suspend, revoke or restrict all medical licenses that it issues.

         16.       The individual members of the Idaho State Board of Nursing (“Board of

Nursing”) are also sued in their official capacity. The Board of Nursing is a state agency defined

in the Idaho Administrative Procedures Act. Idaho Code § 54-1403(1). The Board of Nursing

governs the licensing of all APRNs in the state. Pursuant to Idaho Code § 54-1404(2), the Board

of Nursing has the authority to suspend, revoke or restrict all nursing licenses for failure to

comply with the requirements of the Physician-Only Law.

                                     FACTUAL STATEMENT
A.       Early Abortion Practice and Safety

         17.       Access to abortion is critically important for women who face unwanted

pregnancies. Nationwide, roughly one out of four women will have an abortion by the time she




COMPLAINT - 6
99490287.2 0099880-01204
            Case 1:18-cv-00555-BLW Document 1 Filed 12/14/18 Page 7 of 23




reaches age 45. 5 Approximately 60% of women having abortions already have at least one

child. 6

           18.     Legal abortion is one of the safest services in modern health care. Less than .5

percent of all abortion patients experience a complication that requires hospitalization, surgery or

transfusion. 7

           19.     Abortion is far safer than carrying a pregnancy to term. The mortality rate for

childbirth is approximately 14 times higher than for first-trimester abortion, and every

pregnancy-related complication is more common among women having live births than among

those having abortions. 8
           20.     Although abortion is significantly safer than continuing pregnancy through

childbirth, the risks associated with abortion increase as pregnancy advances. According to one

study, 58 percent of abortion patients in the United States would have liked to have had their

abortion earlier in the pregnancy. 9

           21.     Early abortions are performed using medication or vacuum aspiration. Both

methods are extremely safe and effective. 10

           22.     “Medication abortion” is typically performed using a regimen of two prescription

drugs, mifepristone and misoprostol. Mifepristone, also known as “RU-486” or by its
5
  Guttmacher Institute, Abortion Is a Common Experience for U.S. Women, Despite Dramatic Declines in
Rates (Oct. 19, 2017), https://www.guttmacher.org/news-release/2017/abortion-common-experience-us-
women-despite-dramatic-declines-rates.
6
  Jenna Jerman et al., Guttmacher Institute, Characteristics of U.S. Abortion Patients in 2014 and
Changes Since 2008 (2016), https://www.guttmacher.org/report/characteristics-us-abortion-patients-
2014.
7
  Guttmacher Institute, Induced Abortion in the United States (Jan. 2018),
https://www.guttmacher.org/fact-sheet/induced-abortion-united-states.
8
  Elizabeth G. Raymond & David A. Grimes, The Comparative Safety of Legal Induced Abortion and
Childbirth in the United States, 119 Obstetrics & Gynecology 215 (Feb. 2012),
http://unmfamilyplanning.pbworks.com/w/file/fetch/119312553/Raymond%20et%20al-
Comparative%20Safety.pdf; see also Whole Woman’s Health v. Hellerstedt, 136 S. Ct. 2292, 2315 (2016)
(citing Whole Woman’s Health v. Lakey, 46 F. Supp. 3d 673, 684 (W.D. Tex. 2014)).
9
  Rachel K. Jones & Jenna Jerman, Guttmacher Institute, Time to Appointment and Delays in Accessing
Care Among U.S. Abortion Patients, 3 (2016),
https://www.guttmacher.org/sites/default/files/report_pdf/delays-in-accessing-care.pdf (citing LB Finer et
al., Timing of Steps and Reasons for Delays in Obtaining Abortions in the United States, 74(4)
Contraception 334-44 (2006)).
10
   APC Toolkit at 8-11.


COMPLAINT - 7
99490287.2 0099880-01204
            Case 1:18-cv-00555-BLW Document 1 Filed 12/14/18 Page 8 of 23




commercial name “Mifeprex,” works first by temporarily blocking the hormone progesterone,

which is necessary to maintain pregnancy, and by increasing the efficacy of the second

medication in the regimen, misoprostol. Misoprostol, which the woman generally takes at home

6-48 hours after the mifepristone, causes the uterus to contract and expel its contents. The

woman typically passes the pregnancy at home, in a process similar to a miscarriage. 11

         23.       In a vacuum aspiration abortion, the clinician inserts a small sterile tube through

the cervix into the uterus. A pump attached to the tube creates suction, which empties the uterine

contents. The procedure takes between five and ten minutes. 12
B.       Idaho’s Physician-Only Law

         24.       Idaho law defines abortion as “the use of any means to intentionally terminate the

clinically diagnosable pregnancy of a woman with knowledge that the termination by those

means will, with reasonable likelihood, cause the death of the unborn child.” 13 This definition
includes both medication and aspiration abortion. Idaho law defines a “chemical abortion” as the

“use of an abortifacient or combination of abortifacients to effect an abortion.” 14 An

abortifacient is defined by the same statute as “mifepristone, misoprostol and/or other chemical

or drug dispensed with the intent of causing an abortion.” 15

         25.       Idaho’s Physician-Only Law makes it “unlawful for any person other than a

physician to cause or perform an abortion.” Idaho Code § 18-608A.

         26.       Under Idaho Code § 18-605(3), any person who is licensed to provide health care

pursuant to title 54, Idaho Code (including APRNs and physician assistants) and who knowingly

violates the provisions of Idaho Code, Title 18, Chapter 6, is guilty of a felony.

         27.       While Idaho’s Physician-Only Law currently constrains APC’s ability to provide

abortion services, this restriction is not medically necessary. In states across the country,
11
   Planned Parenthood, What Can I Expect if I Take the Abortion Pill,
https://www.plannedparenthood.org/learn/abortion/the-abortion-pill/what-can-i-expect-if-i-take-abortion-
pill (last visited Nov. 15, 2018).
12
   APC Toolkit at 10-11.
13
   Idaho Code § 18-604(1).
14
   Idaho Code § 18-617(1)(b).
15
   Idaho Code § 18-617(1)(a).


COMPLAINT - 8
99490287.2 0099880-01204
            Case 1:18-cv-00555-BLW Document 1 Filed 12/14/18 Page 9 of 23




including California, Oregon, Vermont, Montana and New Hampshire, APCs are legally

permitted to provide aspiration abortion and medication abortion. 16 APCs in New England have

been safely and effectively providing abortion care for decades. 17
C.       Scope of Practice of Advanced Practice Clinicians in Idaho

                                        Licensing Requirements

         28.       To be licensed to perform advanced practice registered nursing in Idaho, a person

must

                   (a) Be currently licensed to practice as a registered nurse in Idaho;
                   and
                   (b) Have successfully completed an approved advanced practice
                   registered nursing education program that meets the board
                   requirements for the role of advanced nursing practice for which
                   the applicant is seeking licensure; and
                   (c) Have passed a qualifying examination recognized by the board
                   and have current certification from a national organization
                   recognized by the board; and
                   (d) Be of sufficiently sound physical and mental health as will not
                   impair or interfere with the ability to practice nursing.

Idaho Code § 54-1409(1).

         29.       To be licensed to practice medicine as a physician assistant in Idaho, a person

must pass an examination and submit an application, both of which are approved by the State’s

Board of Medicine. Idaho Code § 54-1807A(1). Additionally, “[t]he board shall determine and

limit the scope of activities of each physician assistant on the basis of completed courses of study

or programs of instruction received. Upon licensure, the board shall authorize each physician

assistant to assist a physician or group of physicians who are qualified and approved by the board

to supervise physician assistants to engage in activities as limited by the board.” Id.

                                            Scope of Practice


16
   Donna Barry & Julia Rugg, Center for American Progress, Improving Abortion Access by Expanding
Those Who Provide Care (Mar. 26, 2015),
https://www.americanprogress.org/issues/women/reports/2015/03/26/109745/improving-abortion-access-
by-expanding-those-who-provide-care/.
17
   APC Toolkit at 12.


COMPLAINT - 9
99490287.2 0099880-01204
           Case 1:18-cv-00555-BLW Document 1 Filed 12/14/18 Page 10 of 23




         30.       An APRN is “a registered nurse licensed in [Idaho] who has gained additional

specialized knowledge, skills and experience through a graduate or post-graduate program of

study” and “is authorized to perform advanced nursing practice, which may include acts of

diagnosis and treatment, and the prescribing, administering and dispensing of therapeutic

pharmacologic and non-pharmacologic agents.” Idaho Admin. Code r. 23.01.01.271.02. APRNs

“when functioning within the recognized scope of practice, assume primary responsibility for the

care of their patients in diverse settings.” Id.

         31.       APRNs “include nurses licensed in the roles of certified nurse-midwife, clinical

nurse specialist, certified nurse practitioner, and certified registered nurse anesthetist.” Id. A

certified nurse-midwife is “a licensed registered nurse who has graduated from a nationally

accredited graduate or post-graduate nurse-midwifery program, and has current certification as a

nurse-midwife from a national organization recognized by the Board [of Nursing].” Idaho

Admin. Code r. 23.01.01.271.05.

         32.       Idaho’s “core standards” require APRNs to, among other things, “provide client

services for which the advanced practice registered nurse is educationally prepared and for

which competence has been achieved and maintained,” “evaluate and apply current evidence-

based research findings relevant to the advanced nursing practice role,” and “assume

responsibility and accountability for health promotion and maintenance as well as the

assessment, diagnosis and management of client conditions to include the use of pharmacologic

and non-pharmacologic interventions and the prescribing and dispensing of pharmacologic and

non-pharmacologic agents.” Idaho Admin. Code r. 23.01.01.280.02.

         33.       A certified nurse-midwife also “provides the full range of primary health care

services to women throughout the lifespan, including gynecologic care, family planning services,

preconception care, prenatal and postpartum care, childbirth, care of the newborn and

reproductive health care treatment of the male partners of female clients.” Idaho Admin. Code r.

23.01.01.280.03.




COMPLAINT - 10
99490287.2 0099880-01204
           Case 1:18-cv-00555-BLW Document 1 Filed 12/14/18 Page 11 of 23




         34.       A physician assistant is a “person who is a graduate of an approved program and

who is qualified by specialized education, training, experience and personal character” and “who

has been licensed by the Board to render patient services under the direction of a supervising and

alternate supervising physician.” Idaho Admin. Code r. 22.01.03.010.07.

         35.       A physician assistant’s scope of practice “shall be defined in the delegation of

services and may include a broad range of diagnostic, therapeutic and health promotion and

disease prevention services.” Idaho Admin. Code r. 22.01.03.028.01. A physician assistant’s

“scope of practice may include prescribing, administering, and dispensing of medical devices

and drugs, including the administration of a local anesthetic injected subcutaneously, digital

blocks, or the application of topical anesthetics, while working under the supervision of a

licensed medical physician.” Id.

         36.       Although physician assistants practice under the supervision of a physician, that

supervision need not be in person. Idaho Admin. Code r. 22.01.04.09.

         37.       Both APRNs and physician assistants perform a variety of services that were once

performed by physicians, including many procedures that are equally or more complex than

medication and aspiration abortion.

         38.       For instance, they perform endometrial biopsies. During this procedure, a sterile

tube is inserted through a patient’s cervix into the uterus and a small piece of tissue is suctioned

from the uterine lining. 18

         39.       Similarly, APRNs and physician assistants perform colposcopies. During this

procedure, instruments are used to magnify the cervix and, when appropriate, to remove tissue

for biopsy. 19

         40.       APRNs and physician assistants insert (and remove) intrauterine devices (IUDs)

through the patient’s cervix into her uterus. IUDs are long-acting reversible contraceptive



18
     APC Toolkit at 18.
19
     Id.

COMPLAINT - 11
99490287.2 0099880-01204
           Case 1:18-cv-00555-BLW Document 1 Filed 12/14/18 Page 12 of 23




devices. APRNs and physician assistants also perform intrauterine insemination, a form of

assisted reproductive technology that involves injecting sperm into a patient’s uterus. 20

          41.        For each of these procedures, APRNs and physician assistants often provide

lidocaine cervical blocks, a type of local analgesic (painkiller). 21

          42.        Most significantly, if a patient is experiencing a miscarriage, an APC in Idaho

who is appropriately trained can use vacuum aspiration to complete the miscarriage (which

reduces bleeding as well as the risk of infections and other complications). 22 APCs in Idaho,

including at least one at PPGNHI, also use this technique to remove any retained tissue in a

patient’s uterus following an abortion. This procedure is identical to an aspiration abortion.

          43.        Similarly, if a patient is experiencing a miscarriage, or if a patient has retained

tissue in her uterus following an abortion, APCs in Idaho —including at PPGNHI—can and do

safely provide medication to facilitate the evacuation of the uterus.

          44.        The Legislature does not single out any health care service as beyond an APRN’s

or physician assistant’s scope of practice—except abortion. There is no medical justification for

prohibiting APCs from performing aspiration procedures and prescribing medication for abortion

while allowing them to use the very same procedures and medications in the context of

miscarriage care.
D.        APCs in Idaho Can Provide Safe, Effective Medication and Aspiration Abortion
          Care

          45.        Peer-reviewed studies uniformly conclude that APCs can safely and effectively

provide medication and aspiration abortion care, and leading medical and public health

authorities agree.

                Studies Consistently Establish that APCs Can Safely and Effectively
                         Provide Medication and Aspiration Abortion Care
          46.        There is a large body of research that evaluates the comparative safety of early

abortion care provided by APRNs and physician assistants versus the care provided by
20
     Id.
21
     Id.
22
     Id. at 16-18.

COMPLAINT - 12
99490287.2 0099880-01204
           Case 1:18-cv-00555-BLW Document 1 Filed 12/14/18 Page 13 of 23




physicians. The peer-reviewed medical literature has unanimously concluded that APCs can

safely and effectively provide aspiration abortions.

         47.       For example, a 2013 study of aspiration abortion services compared 5,812

procedures performed by physicians with 5,675 procedures performed by APRNs and physician

assistants. See Tracy A. Weitz et al., Safety of Aspiration Abortion Performed by Nurse

Practitioners, Certified Nurse Midwives, and Physician Assistants Under a California Legal

Waiver, 103 Am. J. Pub. Health 454, 457 (2013). The study found that “complications were

rare” among both groups of practitioners and that such “complications were clinically equivalent

between newly trained [nurse practitioners, nurse-midwives, and physician assistants] and

physicians.” Id. at 457, 454. The results of the study “confirm existing evidence from smaller

studies that the provision of abortion by [APCs] is safe and from larger international and national

reviews that have found these clinicians to be safe and qualified health care providers.” Id. at 459

(footnotes omitted).

         48.       Other studies addressing the safety of advanced practice clinicians’ provision of

aspiration abortion similarly conclude that such clinicians “provided abortion services

comparable in safety and efficacy to those of a physician service.” Marlene B. Goldman et al.,

Physician Assistants as Providers of Surgically Induced Abortion Services, 94 Am. J. Pub.

Health 1352, 1356 (2004) (examining data on abortion care in Vermont); see also Shireen J.

Jejeebhoy et al., Can Nurses Perform Manual Vacuum Aspiration (MVA) as Safely and

Effectively as Physicians? Evidence from India, 84 Contraception 615, 620 (2011) (finding that

aspiration abortion “can be provided with equal safety and effectiveness . . . by nurses as by

physicians”); I.K. Warriner et al., Rates of Complication in First-Trimester Manual Vacuum

Aspiration Abortion Done by Doctors and Mid-Level Providers in South Africa and Vietnam: A

Randomised Controlled Equivalence Trial, 368 Lancet 1965, 1970 (2006) (“[F]irst-trimester

abortions with manual vacuum aspiration are done equally safely by doctors and trained

government-certified MLPs [mid-level practitioners]”); Mary Anne Freedman et al., Comparison

of Complication Rates in First Trimester Abortions Performed by Physician Assistants and


COMPLAINT - 13
99490287.2 0099880-01204
           Case 1:18-cv-00555-BLW Document 1 Filed 12/14/18 Page 14 of 23




Physicians, 76 Am. J. Pub. Health 550, 553 (1986) (evidence from Vermont demonstrated that

“there are no differences in complication rates between those women who had abortions

performed by a physician assistant and those who had the procedure performed by a physician”).

                 Leading Medical and Public Health Authorities Support APCs Provision
                               of Medication and Aspiration Abortions
         49.       Consistent with the unanimous findings from this research, a significant array of

leading medical authorities and professional associations support the provision of medication and

aspiration abortions by APCs.

         50.       The American College of Obstetricians and Gynecologists (“ACOG”), a

professional association of more than 58,000 obstetrician-gynecologists, is the nation’s leading

organization of women’s health care providers.

         51.       ACOG expressly “oppos[es] restrictions [like the Idaho law] that limit abortion

provision to physicians only or obstetrician–gynecologists only.” ACOG, Committee Opinion

No. 612, Health Care for Underserved Women (Nov. 2014, reaffirmed 2017),
https://www.acog.org/Clinical-Guidance-and-Publications/Committee-Opinions/Committee-on-

Health-Care-for-Underserved-Women/Abortion-Training-and-Education.

         52.       In setting forth its opposition to physician-only laws, ACOG invoked the above-

cited studies “show[ing] no difference in outcomes in first-trimester medical and aspiration

abortion by provider type and indicat[ing] that trained [advanced practice clinicians] can provide

abortion services safely.” Id.

         The National Academies of Sciences, Engineering, and Medicine (National Academies)

—a body composed of highly esteemed experts that was first established by Congress in 1863 to

provide independent, objective expert analysis and advice to the Nation to inform public

policy—similarly has concluded that “APCs (physician assistants, certified nurse-midwives, and

nurse practitioners) can provide medication and aspiration abortions safely and effectively.”

Health & Medical Division, Board on Health Care Services, National Academies, The Safety and

Quality of Abortion Care in the United States 14 (2018).



COMPLAINT - 14
99490287.2 0099880-01204
           Case 1:18-cv-00555-BLW Document 1 Filed 12/14/18 Page 15 of 23




         53.       The American Public Health Association (APHA) is the nation’s leading public

health organization.

         54.       The APHA recognizes that physician-only requirements like the Idaho law are

“[o]utdated” and expressly recommends that APRNs and physician assistants be permitted to

provide medication and aspiration abortion care. APHA, Policy No. 20112, Provision of

Abortion Care by Advanced Practice Nurses and Physician Assistants (Nov. 1, 2011),

https://www.apha.org/policies-and-advocacy/public-health-policy-statements/policy-

database/2014/07/28/16/00/provision-of-abortion-care-by-advanced-practice-nurses-and-
physician-assistants.

         55.       The APHA has further explained that “[e]mpirical evidence . . . demonstrates the

competency of [nurse practitioners, nurse-midwives, and physician assistants] in providing all

aspects of medication abortion” and that “research findings indicate the ability of primary care

clinicians—including [nurse practitioners, nurse-midwives, and physician assistants]—to provide

aspiration abortions with complication rates comparable to those of physician abortion

providers.” Id.

         56.       The World Health Organization (“WHO”) has likewise recognized that

medication and aspiration abortion “can be safely provided” by APCs. WHO, Safe Abortion:

Technical and Policy Guidance for Health Systems 65 (2d ed. 2012).

         The Experience, Training, and Safety Record of APCs at Plaintiff’s Clinics
       Underscore Their Ability to Safely Provide Medication and Aspiration Abortions
         57.       PPGNHI employs or contracts with 4 APCs across its 3 locations in Idaho. All

specialize in women’s health or family nursing, both of which encompass reproductive

healthcare.

         58.       The APCs who work at PPGNHI, including Mary Stark, are highly qualified

clinicians.




COMPLAINT - 15
99490287.2 0099880-01204
           Case 1:18-cv-00555-BLW Document 1 Filed 12/14/18 Page 16 of 23




         59.       Like other APCs in Idaho, they provide a broad range of health care services,

have extremely broad prescriptive authority, and regularly prescribe both FDA-approved and

Scheduled medications.

         60.       At PPGNHI, Mary Stark has specific experience in medication and aspiration

abortion care or comparable services.

         61.       For instance, Ms. Stark safely provides medication abortion care at PPGNHI’s

clinics in Washington state. She has been doing so for 9 years. However, because of the

Physician-Only Law, she is prohibited from providing identical care at PPGNHI’s Idaho clinics.

         62.       PPGNHI APCs safely prescribe medication in the context of miscarriage

management, or to evacuate any retained tissue in a patient’s uterus following an abortion.

However, because of the Physician-Only Law, they are prohibited from prescribing the same

medication to induce an abortion.

         63.       Mary Stark safely performs aspiration procedures in the context of miscarriage

management, or to evacuate any retained tissue in a patient’s uterus following an abortion.

However, because of the Physician-Only Law, she is prohibited from performing the identical

procedure to induce an abortion.

         64.       APCs at PPGNHI also regularly provide all elements of patient care before and

after an abortion, including diagnosing and dating the pregnancy (typically by ultrasound),

assessing any contraindications (e.g., if the patient has an allergy, or the pregnancy is ectopic—

located outside of the uterus), providing options counseling, developing a contraceptive plan,

providing follow-up care to ensure that the abortion was complete, and assessing and managing

any post-abortion complications.

         65.       APCs at PPGNHI also regularly perform procedures that are comparable in risk

and complexity to aspiration abortion, such as IUD insertions and removals.

         66.       To the extent necessary, APCs at PPGNHI have the ability to obtain additional

training to achieve competency in medication and aspiration abortion.




COMPLAINT - 16
99490287.2 0099880-01204
           Case 1:18-cv-00555-BLW Document 1 Filed 12/14/18 Page 17 of 23




         67.       Indeed, PPGNHI regularly trains APCs at its Hawaii and Washington clinics in

medication abortion care, and APCs have been safely providing medication abortions in clinics

for years.

         68.       PPGNHI regularly trains and credentials APCs in Idaho in procedures that are

comparable in skill and complexity to aspiration abortion care.

         69.       PPGNHI maintains detailed protocols for training and credentialing APCs in new

skills. These typically involve a combination of didactic requirements, clinical observation, a

period of proctored care, and review of relevant patient records.
         70.       This mirrors the training and credentialing process that PPGNHI uses for

physicians.

         71.       If not for the Physician-Only Law, 4 APCs at PPGNHI could immediately begin

providing medication abortions, and 2 APCs (including Ms. Stark) could immediately begin

providing aspiration abortion care. Other APCs at PPGNHI would immediately pursue training

to expand their scope of practice to encompass both medication and aspiration services.
E.       The Physician-Only Law Significantly Impedes Access to Abortion and Causes
         Medical, Emotional, and Financial Harm to Idaho Women.

           Because of the Physician-Only Law, Idaho Women Often Have to Travel
       Extremely Long Distances to Access Abortion Care, Which Many Cannot Afford
         72.       As of 2014, 95% of Idaho counties had no clinics that provided abortions, and

39% of women aged 15-44 lived in those counties. 23 In total, 68% of women in Idaho live in

counties without abortion clinics. 24 There are only five locations in the entire state where a

woman can access abortion care, and only three of them are clinics (as opposed to doctors in

private practice who may not accept all patients). 25 Even a woman who lives in a county with

abortion availability is not guaranteed easy access.




23
   Rachel K. Jones & Jenna Jerman, Abortion Incidence and Service Availability in the United States,
2014, 49 Perspectives on Sexual & Reproductive Health 17 (2017) (table 4).
24
   Id.
25
   Id.


COMPLAINT - 17
99490287.2 0099880-01204
           Case 1:18-cv-00555-BLW Document 1 Filed 12/14/18 Page 18 of 23




         73.       A woman facing long travel distances typically must arrange and pay for

transportation and arrange to take time off work. Low-wage workers often have no access to

paid time off or sick days, so even if a pregnant woman is able to get time off work, she is likely

to have to forgo being paid. These costs can be prohibitive for poor and low-income women.

         74.       A woman facing long-distance travel to access an abortion may also have to

arrange and pay for child care as most abortion patients in the United States already have at least

one child. 26

         75.       14.4% of Idaho’s population lives in poverty. 27 The poverty rate among women

between 18 to 64 years old is 15.5%. 28 The rate is also disproportionately high amongst people
of color; 25.1% of African-Americans, 15.7% of Asian-Americans, 22.1% of Latinos and 26.6%

of Native Americans live below the poverty line. 29 To make matters worse, the federal poverty

level is widely considered an inadequate measure of poverty, as it does not take into account the

cost of child care, medical expenses, utilities or taxes. 30 Thus, there are more Idaho residents

struggling with poverty than these numbers indicate.

         76.       Due to a combination of factors, including relative lack of access to medical

services and difficulty accessing and affording contraceptives, low-income women have more

unintended pregnancies, and therefore higher abortion rates, than women with higher incomes.

Consequently, a disproportionately high percentage of women who seek abortions nationwide

have poverty-level incomes. 31

         77.       Plaintiffs’ poor and low-income patients routinely tell them that they do not have,

and will not be able to find, the money they need to travel to a clinic in a different city for
26
   Characteristics of U.S. Abortion Patients in 2014 and Changes Since 2008, supra note 6.
27
   QuickFacts: Idaho, U.S. Census Bureau, https://www.census.gov/quickfacts/fact/table/ID/PST045216
(last visited Nov. 15, 2018).
28
   Idaho 2017, TalkPoverty, https://talkpoverty.org/state-year-report/idaho-2017-report/ (last visited Nov.
15, 2018).
29
   Id.
30
   Thomas C. Frohlich, Michael B. Sauter and Alexander Kent, Progress in Fighting Poverty in America
Has Slowed Despite Recent Economic Recovery, USA Today, October 1, 2018,
https://www.usatoday.com/story/money/economy/2018/10/01/fighting-poverty-america-slowing-despite-
recent-economic-recovery/1445296002/ (last visited Nov. 28, 2018)
31
   Characteristics of U.S. Abortion Patients in 2014 and Changes Since 2008, supra note 6.


COMPLAINT - 18
99490287.2 0099880-01204
           Case 1:18-cv-00555-BLW Document 1 Filed 12/14/18 Page 19 of 23




abortion care. Although Idaho’s Medicaid program covers the cost of transportation to receive

Medicaid-covered health services, because Idaho’s Medicaid program excludes coverage for

abortion in almost all cases, Plaintiffs’ poor and low-income patients who are enrolled in or

eligible for Medicaid cannot receive state assistance either with the cost of their abortions or with

the cost of travel to their appointments. In any event, transportation costs are but one of multiple

barriers to a low-income woman’s ability to travel to obtain abortion care.

         78.       As a result of lengthy travel distances, some women are simply unable to obtain

an abortion and are instead forced to carry a pregnancy to term against their will. 32

       Because of the Physician-Only Law, Idaho Women Can Access Abortion Care
       Only on a Limited Number of Days, Causing Delays and Other Forms of Harm,
             and Preventing Some Women from Accessing Abortion Care at All
         79.       Because of the Physician-Only Law, the days on which a woman can obtain an

abortion at Planned Parenthood in Idaho are very limited: (1) on Thursday, she can obtain a

medication or aspiration abortion in Meridian; (2) on two Wednesdays per month, she can obtain

a medication or aspiration abortion in Twin Falls; and (3) on Friday, she can obtain a medication

abortion in Boise.

         80.       In addition, medication abortion is available via telemedicine, but due to limited

physician availability, this service is only available during narrow windows. For instance,

medication abortion is only available by telemedicine approximately 1-2 half days per week.

         81.       Because of the Physician-Only Law, there are no publicly accessible clinics in

Idaho regularly offering evening or weekend appointments for abortion care.

         82.       This presents significant logistical challenges for the many patients who need to

take time off work and/or arrange for child care for their abortion appointment.

         83.       The lack of evening or weekend options for abortion care also makes it more

difficult for patients to maintain the confidentiality of their pregnancy and abortion decision from
32
  Alyssa Llamas et al., Jacob’s Institute of Women’s Health, George Washington University, Public
Health Impacts of State-Level Abortion Restrictions: Overview of Research & Policy in the United States
20-27 (Apr. 2018),
https://publichealth.gwu.edu/sites/default/files/downloads/projects/JIWH/Impacts_of_State_Abortion_Re
strictions.pdf.


COMPLAINT - 19
99490287.2 0099880-01204
           Case 1:18-cv-00555-BLW Document 1 Filed 12/14/18 Page 20 of 23




employers, colleagues, neighbors, and those family members they decide not to inform. For

women in abusive relationships who need to keep their pregnancy and abortion decision secret,

this can endanger their safety.

         84.       Plaintiffs’ patients frequently implore them for an appointment on a different day

of the week. Unfortunately, because of the Physician-Only Law, Plaintiffs are rarely able to

accommodate these requests.

         85.       While PPGNHI has mitigated some of these burdens by using telemedicine to

provide some medication abortion services in Twin Falls, this delivery method is still limited by

physician availability. The physicians employed by PPGNHI or with whom PPGNHI contracts

to provide abortions all work outside PPGNHI, either in their own private practices or both

practicing and teaching as part of a residency program. As a result, PPGNHI generally only has

a physician available 1-2 days per month to provide medication abortions via telemedicine in

Twin Falls.

         86.       In addition, as previously noted, the physicians who typically can provide

telemedicine consultations for medication abortion have very limited availability. There are

usually only a few slots available to serve multiple telemedicine locations in Idaho, and it can be

very difficult to get an appointment.

         87.       Scheduling these telemedicine appointments is complicated and time-consuming,

primarily because of the need to coordinate with the schedule of a physician in Meridian. These

scheduling challenges delay patients’ appointments, typically by about a week.

         88.       These delays can mean the difference between obtaining a medication abortion

and an aspiration abortion, with meaningful repercussions for women’s health and well-being.

Medication abortion is medically indicated for certain women (e.g., women with uterine

fibroids), and strongly preferred by others (e.g., sexual assault survivors for whom the insertion

of instruments into the vagina may cause emotional and psychological trauma).

         89.       In addition, although abortion is extremely safe, the risks associated with the

procedure increase with each additional week of pregnancy.


COMPLAINT - 20
99490287.2 0099880-01204
           Case 1:18-cv-00555-BLW Document 1 Filed 12/14/18 Page 21 of 23




         90.       A woman who is delayed more than 10 weeks after her last menstrual period will

lose not only the option of a medication abortion but also the option of a telemedicine abortion,

and will often have to travel lengthy distances to obtain care.

         91.       It is not uncommon that a patient estimated to be at 9 weeks of pregnancy or more

contacts PPGNHI seeking a medication abortion and lives over an hour from the nearest provider

of aspiration abortion care. Because of scheduling delays caused primarily by the Physician-

Only Law, these patients are often pushed past the limit for medication abortion and have to

travel to Meridian, or wait up to two weeks in Twin Falls, to obtain an aspiration abortion

instead—or forgo abortion care all together.

         92.       In addition, because the cost of an abortion increases as gestational age advances,

patients may face additional costs as a result of these delays—which is a serious burden for many

patients, especially low-income patients.

         93.       At PPGNHI, the delays resulting from the Physician-Only Law are often

exacerbated by the time it takes patients to raise money for the procedure (which, because of

delays caused by the Physician-Only Law, may be more expensive) and for travel to the

procedure (which, because of the Physician-Only Law, may be far longer and more expensive).

As a result of these factors, some patients are pushed past the point in pregnancy when they can

obtain abortion care in Idaho.

     Invalidating the Physician-Only Law Will Expand the Availability of Abortion Care
         94.       If the Physician-Only Law were invalidated, abortion care would be available in

Idaho six days of the week, for longer hours (including evenings and weekends).

         95.       In addition, many more Idaho women would be able to obtain abortion care from

the same APRN in their community from whom they receive other primary, gynecological,

and/or prenatal care.

         96.       This expanded access would dramatically reduce delays and the associated

medical, emotional, and financial harm that women in Idaho are experiencing as a result of the

Physician-Only Law. Additionally, many more women in Idaho would be able to receive care in


COMPLAINT - 21
99490287.2 0099880-01204
           Case 1:18-cv-00555-BLW Document 1 Filed 12/14/18 Page 22 of 23




or near their own communities without the expense and logistical challenges of traveling long

distances.

                                         CLAIMS FOR RELIEF

                                                 COUNT I

                           (Substantive Due Process – Patients’ Right to Privacy)

          1.1      The allegations of paragraphs 1-96 are incorporated as though fully set forth

herein.

          1.2      The Physician-Only Law violates Plaintiffs’ patients’ right to liberty and privacy

as guaranteed by the due process clause of the Fourteenth Amendment to the U.S. Constitution

as it imposes an undue burden their liberty to choose to have an abortion.
                                                COUNT II

                             (Equal Protection – Plaintiffs and Their Patients)

          2.1      The allegations of paragraphs 1-96 are incorporated as though fully set forth

herein.

          2.2      The Physician-Only Law violates the equal protection rights of APCs, as

guaranteed by the Fourteenth Amendment to the U.S. Constitution, by treating APCs differently

than physicians, who are for all relevant purposes similarly situated, without adequate

justification.

          2.3      The statute violates the equal protection rights of Plaintiffs’ patients, as

guaranteed by the Fourteenth Amendment to the U.S. Constitution, by singling out abortion, a

medical procedure that only women require, for stricter regulation than other comparable health

care services, without adequate justification.

          WHEREFORE, Plaintiffs respectfully request that the Court
          1.       declare that Idaho Code § 18-608A is unconstitutional as applied to APCs who

perform medication and aspiration abortion;




COMPLAINT - 22
99490287.2 0099880-01204
           Case 1:18-cv-00555-BLW Document 1 Filed 12/14/18 Page 23 of 23




         2.        enjoin Defendants, their employees, agents, and successors in office from

enforcing Idaho Code §§ 18-608A and 18-605(3) against APCs who perform medication and

aspiration abortion, and enter this injunction without bond;

         3.        award Plaintiffs costs and attorneys’ fees pursuant to 42 U.S.C. § 1988(b); and

         4.        grant Plaintiffs such other, further, and different relief as the Court may deem just

and proper.


         DATED: December 14, 2018.                     STOEL RIVES LLP


                                                       /s/ Nicole Hancock
                                                       Nicole Hancock, ISB No. 6899
                                                       nicole.hancock@stoel.com
                                                       101 S. Capitol Boulevard, Suite 1900
                                                       Boise, ID 83702

                                                       Attorneys for Plaintiffs




COMPLAINT - 23
99490287.2 0099880-01204
